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                                 United States Court of Appeals for the Second Circuit
                                         Thurgood Marshall U.S. Courthouse
                                                   40 Foley Square
                                                 New York, NY 10007

              DEBRA ANN LIVINGSTON                                         CATHERINE O'HAGAN WOLFE
              CHIEF JUDGE                                                  CLERK OF COURT


              Date: February 27, 2025                                      DC Docket #: 1:23-cv-6881
              Docket #: 24-3255                                            DC Court: SDNY (NEW YORK
              Short Title: Sweigert v. Goodman                             CITY)
                                                                           Trial Judge - John G. Koeltl
                                                                           Magistrate Judge - Valerie Figueredo




                                      NOTICE OF RECORD ON APPEAL FILED

              In the above referenced case the document indicated below has been filed in the Court.

              ____ Record on Appeal - Certified List

              ____ Record on Appeal - CD ROM

              ____ Record on Appeal - Paper Documents

              __X__ Record on Appeal - Electronic Index

              ____ Record on Appeal - Paper Index

              Inquiries regarding this case may be directed to 212-857-8588.
